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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District ofNew York

  KTF/BW/DIB                                           271 Cadman Plaza East
  F. #2024R00288                                       Brooklyn, New York 11201



                                                       December 2, 2024

  By Hand and ECF

  Clerk of Court
  (for forwarding to randomly assigned United States District Judge)
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  The Honorable LaShann DeArcy Hall
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 1120 l

                 Re:    United States v. Timothy McCormack ("McCormack")
                        Criminal Docket Number To Be Assigned;
                        and
                        United States v. Jontay Porter ("Porter")
                        Criminal Docket Number 24-270 (LOH);
                        United States v. Long Phi Pham ("Pham")
                        Criminal Docket Number 24-359 (LOH);
                        United States v. Mahmud Mollah ("Mollah")
                        Criminal Docket Number 24-389 (LOH)


  Dear Clerk of Court and Judge DeArcy Hall:

                Pursuant to Rule 4 of the Rules for the Division of Business for the Eastern
  District ofNew York, the government hereby notifies the Court that the above-captioned cases
  (McCormack, Mollah, Pham and Porter) are presumptively related.

                 Rule 4(b)( 1) provides for "a presumption that one case is 'related' to another
  when the facts of each arise out of the same charged criminal scheme(s), transaction(s), or
  event(s), even if different defendants are involved in each case." Rule 4(c)(l) directs the United
  States Attorney's Office to "give notice to all relevant Judges whenever it appears that one case
  may be presumptively related to another pursuant to Rule 4(b) above."
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                      This letter constitutes the notice directed by Rule 4. McCormack, Mollah, Pham
       and Porter are presumptively related because the facts of their cases arise out of the same events.
       Specifically, McCormack, Mollah, Pham and Porter are co-conspirators in the same criminal
       conspiracy (the "Conspiracy"). 1

                        Accordingly, because McCormack. Mollah, Pham and Porter arise out of the same
       events, they are presumptively related. The Honorable LaShann DeArcy Hall, United States
       District Judge, Eastern District of New York, is the assigned judge overseeing Mollah, Pham and
       Porter. As such, given the above-described overlap between McCormack, Mollah, Pham and
       Porter, the government respectfully requests that McCormack be assigned to Judge DeArcy Hall.
       The government respectfully submits that such an assignment would be appropriate as it would
       likely result in a significant savings of judicial resources and serve the interests of justice.

                                                             Respectfully submitted,

                                                             BREON PEACE
                                                             United States Attorney
                                                             Eastern District of New York

                                                     By:

                                                             Benjamin Weintraub
                                                             David I. Berman
                                                             Assistant U.S. Attorney
                                                             (718) 254-7000

        cc:      Clerk of Court (by ECF)
                 Jeffrey Chartier, Esq. (by ECF and E-Mail)




                        On June 4, 2024, the Honorable Cheryl L. Pollak, Magistrate Judge for the
        Eastern District of New York. signed a complaint charging four defendants, including
        McCormack. Mollah and Pham, in connection with their participation in the Conspiracy, in
        violation of Title 18, United States Code, Section 1349. See 24-MJ-404 (the "Complaint").
        Porter is the individual identified as "Player l" in the Complaint. Id. Mollah, Pham and Porter
        have each pleaded guilty to informations charging them with conspiracy to commit wire fraud. in
        violation of Title 18, United States Code, Section 1349. They are each pending sentencing.



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